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AO 245 B (Rev. 06/05)(W.D. TX.) - ment ina Criminal

UNITED STATES DISTRICT COURT
Western District of Texas

EL PASO DIVISION
UNITED STATES OF AMERICA
v. Case Number EP-10-CR'0500.DB(5)
USM Number 56903-280 oePuTy~ ———
OMAR OBREGON-ORTIZ
Defendant.

JUDGMENT IN A CRIMINAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant, OMAR OBREGON-ORTIZ, was represented by Gary B. Weiser.

On motion of the United States the Court has dismissed Count Two (2), Four (4), Five (5) of the Superseding
Indictment and Indictment.

The defendant pled guilty to Count Three (3) of the Superseding Indictment on March 25, 2011. Accordingly, the
defendant is adjudged guilty of such Count, involving the following offense:

Title & Section Nature of Offense Date of Offense Count(s)
18 U.S.C. 956 Conspiring to Kidnap, Kill or Maim in September 8, 2009 Three (3)
a Foreign Country

As pronounced on July 7, 2011, the defendant is sentenced as provided in pages 2 through 6 of this Judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984.

it is further ordered that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
Judgment are fully paid. If ordered to pay restitution, the defendant shall notify the Court and United States Attorney of any
material change in the defendant's economic circumstances.

Signed this the __7th___ day of July, 2011.

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bor United States District Judge

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AO 245 B (Rev. 06/05)(W.D.TX.) - Imprisonment

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Defendant: OMAR OBREGON-ORTIZ
Case Number: EP-10-CR-0599-DB (5)
IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
400 months with credit for time served while in custody for this federal offense.

The Court makes the following recommendations to the Bureau of Prisons:

That the defendant be incarcerated in a federal facility as close to El Paso, Texas as possible, but not at the same
facility as the co-defendants.

The defendant shall remain in custody pending service of sentence.

RETURN

i have executed this Judgment as follows:

Defendant delivered on to
at , with a certified copy of this Judgment.

United States Marshal

By

Deputy Marshal

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AO 245 B (Rev. 05/04)(W.D.TX.) - Supervised Release

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Defendant: OMAR OBREGON-ORTIZ
Case Number: EP-10-CR-0599-DB (5)

SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on non-reporting supervised release for a term of 5 years.
While on non-reporting supervised release, the defendant shall comply with the mandatory, standard and if applicable,
the special conditions that have been adopted by this Court as set forth on pages 4 and 5 of this judgment; and shall comply

with the following additional condition:

x The mandatory drug testing provision of the Violent Crime Control and Law Enforcement Act of 1994 is
suspended.

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Defendant: OMAR OBREGON-ORTIZ

Case Number: EP-10-CR-0599-DB (5)
CONDITIONS OF SUPERVISION
Mandatory Conditions:

1) The defendant shall not commit another federal, state, or local crime.

2) The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a
controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at
least two periodic drug tests thereafter, as determined by the court.

3) In supervised release cases only, the defendant must report to the probation office in the district to which the defendant is
released within 72 hours of release from custody of the Bureau of Prisons.

4). If convicted of a felony, the defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous
weapon.

5) The defendant shall cooperate in the collection of DNA as directed by the probation officer if the collection of such a
sample is authorized pursuant to section 3 of the DNA Analysis Backlog Elimination Act of 2000 (42 U.S.C. § 14135a).

6) If convicted of a sexual offense as described in 18 U.S.C. § 4042(c)(4), the defendant shall register with the state sex
offender registration agency in the state where the defendant resides, works, or is a student, as directed by the probation
officer.

7) If convicted of a domestic violence crime as defined in 18 U.S. C. § 3561(b), the defendant shall participate in an approved
program for domestic violence.

8) If the judgment imposes a fine or restitution, it is a condition of supervision that the defendant pay in accordance with the
Schedule of Payments sheet of the judgment.

Standard Conditions:

1) . The defendant shall not leave the judicial district without permission of the court or probation officer.

2) The defendant shall report to the Probation Officer and shall submit a truthful and complete written report within the first
five days of each month.

3) The defendant shall answer truthfully all inquires by the Probation Officer and follow the instructions of the Probation
Officer.

4) The defendant shall support his or her dependents and meet other family responsibilities.

5) The defendant shall work regularly at a lawful occupation unless excused by the Probation Officer for schooling, training or
other acceptable reasons.

6) The defendant shall notify the Probation Officer at least ten clays prior to any change in residence or employment.

7) The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer
any controlled substance or any paraphernalia related to any controlled substance, except as prescribed by a physician.

8) The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered.

9) The defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person
convicted of a felony unless granted permission to do so by the Probation Officer.

10) The defendant shall permit a Probation Officer to visit him or her at any time at home or elsewhere and shall permit
confiscation of any contraband observed in plain view of the Probation Officer.

11) The defendant shall notify the Probation Officer within seventy-two hours of being arrested or questioned by a law
enforcement officer.

12) The defendant shall not enter into any agreement to act as an informer or special agent of a law enforcement agency
without the permission of the Court.

13) As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
defendant's criminal record or personal history or characteristics and shall permit the probation officer to make such
notifications and to confirm the defendant’s compliance with such notification requirement.

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Defendant: OMAR OBREGON-ORTIZ
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14)

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17)

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20)

If convicted of a sexual offense as described in 18 U.S.C. § 4042(c)(4), or has a prior conviction of a State or local offense
that would have been an offense as described in 18 U.S.C. § 4042 (c)(4) if a circumstance giving rise to Federal
jurisdiction had existed, the defendant shall participate in a sex offender treatment program approved by the probation
officer. The defendant shall abide by all program rules, requirements and conditions of the sex offender treatment
program, including submission to polygraph testing, to determine if the defendant is in compliance with the conditions of
release. The defendant may be required to contribute to the cost of the services rendered (copayment) in an amount to be
determined by the probation officer, based on the defendant's ability to pay.

The defendant shall submit to an evaluation for substance abuse or dependency treatment as directed by the probation
officer, and if deemed necessary by the probation officer, the defendant shall participate in a program approved by the
probation officer for treatment of narcotic addiction or drug or alcohol dependency which may include testing and
examination to determine if the defendant has reverted to the use of drugs or alcohol. The defendant may be required to
contribute to the cost of the services rendered (copayment) in an amount to be determined by the probation officer, based
upon the defendant’s ability to pay.

The defendant shall submit to an evaluation for mental health counseling as directed by the probation officer, and if
deemed necessary by the probation officer, the defendant shall participate in a mental health program approved by the
probation officer. The defendant may be required to contribute to the cost of the services rendered (copayment) in an
amount to be determined by the probation officer, based upon the defendant's ability to pay.

If the defendant is excluded, deported, or removed upon release from imprisonment, the term of supervised release shall
be a non-reporting term of supervised release. The defendant shall not illegally re-enter the United States. If the
defendant lawfully re-enters the United States during the term of supervised release, the defendant shall immediately
report in person to the nearest U.S. Probation Office.

if the judgment imposes other criminal monetary penalties, it is a condition of supervision that the defendant pay such
penalties in accordance with the Schedule of Payments sheet of the judgment.

if the judgment imposes a fine, special assessment, restitution, or other criminal monetary penalties, it is a condition of
supervision that the defendant shall provide the probation officer access to any requested financial information.

if the judgment imposes a fine, special assessment, restitution, or other criminal monetary penalties, it is a condition of
supervision that the defendant shall not incur any new credit charges or open additional lines of credit without the approval
of the probation officer unless the defendant is in compliance with the payment schedule.

The Court further adopts such of the following special conditions applied to the supervised person by the judge at the time of
sentencing:

1)

3)

COMMUNITY CONFINEMENT: The defendant shall reside in a Community Corrections Center for a period of CO
months to commence on . Further, once employed, the defendant shall pay 25% of his/her weekly gross
income for his/her subsistence as long as that amount does not exceed the daily contract rate.

HOME DETENTION: The defendant shall participate in the Home Confinement Program for a period of =
days/months. During this time the defendant shall remain at his/her place of residence except for employment and other
activities approved in advance by the probation officer. The defendant shall maintain a telephone at his/her place of
residence without “call forwarding,” a “modem,” “caller ID,” “call waiting,” or portable cordless telephones for the above
period. At the direction of the probation officer, the defendant shall wear an electronic monitoring device and follow
electronic monitoring procedures specified by the probation officer. The court further orders that the defendant shall pay
for the costs of Home Confinement, as directed by the probation officer.

COMMUNITY SERVICE: The defendant shall perform of hours of community service work without pay, at a location
approved by the probation officer, at a minimum rate of four hours per week, to be completed during the first
months of supervision.

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Defendant: OMAR OBREGON-ORTIZ
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CRIMINAL MONETARY PENALTIES/ SCHEDULE

The defendant shall pay the following total criminal monetary penalties in accordance with the schedule of payments
set forth. Unless the Court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal
monetary penalties is due during imprisonment. Criminal Monetary Penalties, except those payments made through Federal
Bureau of Prisons’ Inmate Financial Responsibility Program shall be paid through the Clerk, United States District Court, 525
Magoffin Avenue, Room 105, El Paso, Texas 79901. .

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

Assessment Fine Restitution
TOTAL: $100.00 $0 $0
Special Assessment

It is ordered that the defendant shall pay to the United States a special assessment of $100.00.
Fine

The fine is waived because of the defendant's inability to pay.

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in the priority order or
percentage payment column above. However, pursuant to 18 U.S.C. § 3664(i), all non-fecleral victims must be paid before the United States is paid.

Ifthe fine is not paid, the court may sentence the defendant to any sentence which might have been originally imposed. See 18 U.S.C. §3614.

The defendant shall pay interest on any fine or restitution of more than $2,500.00, unless the fine or restitution is paid in full before the fifteenth day after the date of
the judgment, pursuant to 18 U.S.C. §3612(f). All payment options may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. §3612(g).

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (6) community restitution, (6) fine
interest, (7) penalties, and (8) costs, including cost of prosecution and court costs.

Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after September 13, 1994,
but before April 23, 1996.

